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11                                UNITED STATES DISTRICT COURT
12                              EASTERN DISTRICT OF CALIFORNIA
13
14
     STEVEN HERNANDEZ,                               )   No. 2:24-cv-0532 DB
15                                                   )
          Plaintiff,                                 )   STIPULATION TO VOLUNTARY
16        v.                                         )   REMAND PURSUANT TO SENTENCE
                                                     )   FOUR OF 42 U.S.C. § 405(g) AND TO
17   MARTIN O’MALLEY,                                )   ENTRY OF JUDGMENT; AND ORDER
     Commissioner of Social Security,                )
18                                                   )
          Defendant.                                 )
19                                                   )
                                                     )
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            IT IS HEREBY STIPULATED by and between the parties, through their undersigned
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     attorneys, and with the approval of the Court, that this action be remanded for further
22
23   administrative action pursuant to the Social Security Act § 205(g), as amended, 42 U.S.C.

24   § 405(g), sentence four. On remand, the Appeals Council will instruct the administrative law
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     judge (ALJ) to take any action necessary to further develop the record, as necessary; reevaluate
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     the medical evidence and other evidence of record; reevaluate Plaintiff’s residual functional
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28   capacity; as needed, continue the sequential evaluation process and obtain vocational expert




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     testimony, if warranted; offer Plaintiff the opportunity for a hearing; and issue a new decision.
 1
 2   The parties further request that the Court direct the Clerk of the Court to enter a final judgment in

 3   favor of Plaintiff, and against Defendant, reversing the final decision of the Commissioner.
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                                                   Respectfully submitted,
 5
 6   DATE: June 11, 2024                           /s/ Francesco Paulo Benavides*
                                                   FRANCESCO PAULO BENAVIDES
 7                                                 Attorney for Plaintiff
 8                                                 *Authorized via e-mail on June 11, 2024

 9
                                                   PHILLIP A. TALBERT
10                                                 United States Attorney
11                                                 MATHEW W. PILE
                                                   Associate General Counsel
12                                                 Office of Program Litigation, Office 7
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     DATE: June 11, 2024                   By:     /s/ Justin L. Martin
14                                                 JUSTIN L. MARTIN
15                                                 Special Assistant United States Attorney
                                                   Office of Program Litigation, Office 7
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                                                   Attorneys for Defendant
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 1                                               ORDER
 2          Pursuant to the parties’ stipulation, IT IS HEREBY ORDERED that:
 3          1. The Clerk of the Court shall enter a final judgment in favor of Plaintiff, and against
 4   Defendant, reversing the final decision of the Commissioner;
 5          2. This matter is remanded to the Commissioner of Social Security for further
 6   proceedings pursuant to the Social Security Act § 205(g), as amended, 42 U.S.C. § 405(g),
 7   sentence four;
 8          3. On remand, the Appeals Council will remand the case to an administrative law judge
 9   for a new decision in accordance with the parties’ Stipulation; and
10          4. This case is closed.
11   DATED: June 14, 2024                         /s/ DEBORAH BARNES
12                                                UNITED STATES MAGISTRATE JUDGE

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